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              IN THE UNITED STATES DISTRICT COURT FOR THE
                    MIDDLE DISTRICT OF ALABAMA
                        NORTHERN DIVISION

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )              2:03CR242-S
                              )
          v.                  )
                              )
MARGULIS ENTERPRISES, INC.,   )       FINAL ORDER OF FORFEITURE
d/b/a COVENANT MEDICAL        )
SUPPLIES; FRANCIS W. MARGULIS )
a/k/a FRANK MARGULIS; LINDA P.)
MARGULIS; CHERRY CONNER;      )
JONATHAN THOMAS; and ERICA    )
THOMAS,                       )
                              )
               Defendants.    )
______________________________)


          This matter is before the Court on the preliminary

order of forfeiture entered May 9, 2005, ordering Margulis

Enterprises, d/b/a Covenant Medical Supplies, to forfeit Seventy-

Seven Thousand Dollars ($77,000) in AmSouth Bank Account number

0039227774 (Money Market Account), and by agreement of the

parties, the amount to be forfeited was reduced to $40,000.

          The United States caused to be published in Montgomery

Advertiser newspaper, notice of this forfeiture and of the intent

of the United States to dispose of the property in accordance

with the law and as specified in the preliminary order, and

further notifying all third parties of their right to petition

the Court within thirty (30) days for a hearing to adjudicate the

validity of their alleged legal interest in the property;
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          No petition has been filed, and the Court finds that

defendant Margulis Enterprises, d/b/a Covenant Medical Supplies,

had an interest in the property that is subject to forfeiture

pursuant to Title 18, United States Code, Section 982(a)(7).

          The United States has established the requisite nexus

between such property in the commission of the violation of Title

18, United States Code, Section 1347.      Accordingly,

          IT IS ORDERED:

          1) Forty Thousand Dollars ($40,000) seized from AmSouth

Bank Account number 0039227774 (Money Market Account) is hereby

forfeited to the United States of America pursuant to Title 18,

United States Code, Section 982(a)(7).

          2) That all right, title and interest to the property

described above is hereby condemned, forfeited and vested in the

United States of America, and shall be disposed of according to

law.

          3) That the United States District Court shall retain

jurisdiction in the case for the purpose of enforcing this order.

          4) That the Clerk of the Court shall forward two

certified copies of this order to the United States Attorney’s

Office.

          DATED this 31st day of August, 2005.

                                 BY THE COURT:

                                 /s/ Lyle E. Strom
                                 ______________________________
                                   LYLE E. STROM, Senior Judge
                                   United States District Court
